
USCA1 Opinion

	










          November 16, 1995     [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                             

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          No. 94-2049 

                                   VIRGINIA RONAN,

                                Plaintiff, Appellant,

                                          v.

                        U.S. ENVIRONMENTAL PROTECTION AGENCY,

                                 Defendant, Appellee.


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                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                    [Hon. Richard G. Stearns, U.S. District Judge]
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                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                            Cyr and Stahl, Circuit Judges.
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                                 ____________________

               Virginia G. Ronan, on brief pro se.
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               Donald  K.  Stern, United  States  Attorney,  and Cheryl  L.
               _________________                                 __________
          Conner, Assistant United States Attorney, on brief for appellee.
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                      Per  Curiam.   In an  earlier decision,  this court
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            reversed  a summary  judgment  against  appellant  Ronan  and

            remanded   for  a  trial   her  claims  of   gender  and  age

            discrimination in the denial of a promotional opportunity  by

            her  employer,   the  EPA.    Ronan   v.  U.S.  Environmental
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            Protection  Agency, No. 89-1566, slip op. at 3 (1st Cir. Mar.
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            27,  1990) (per curiam).  Following a bench trial held over a
                        ___ ______

            three day  period, the  district  court awarded  judgment  in

            favor  of the  EPA.   The  court found  that while  Ronan had

            established  a prima facie case,  she had not  shown that the

            EPA's proof  of neutral,  non-discriminatory reasons  for the

            decision concealed a prohibited discriminatory motive or act.

            In short, the trial court found credible the testimony of the

            EPA employees who made the decision.

                      Having  carefully  reviewed  the   transcripts  and

            briefs,  we  find  no  clear error  in  the  court's  factual

            findings.  See  Lussier v.  Runyon, 50 F.3d  1103, 1111  (1st
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            Cir. 1995)  (district court's  factual  findings in  a  bench

            trial are  reviewed  only  for  "clear error").    The  trial

            judge's  choice between  plausible  competing  inferences  is

            entitled to  deference on review, especially  when the choice

            is informed  by an assessment of the demeanor and credibility

            of the witnesses.  See Anderson v. City of Bessemer, 470 U.S.
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            564, 573 (1985);  Cumpiano v. Banco Santander P.R.,  902 F.2d
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            148,  152 (1st Cir. 1990);  Williams v. Poulos,  11 F.3d 271,
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            278 (1st Cir. 1993) (credibility). 



















                      We find  no support  in the record  for appellant's

            bald assertions that the court failed to conduct an impartial

            trial, did not  rule on her motions,  and unfairly disfavored

            her cause in evidentiary rulings and the denial of  appointed

            counsel.  To the contrary, the record reflects that the court

            ruled  on every motion, conducted a  fair and orderly hearing

            without prejudicial error, and  was solicitous of appellant's

            pro se status throughout.  No exceptional reason requiring an
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            appointment of counsel is suggested.  We also see no error in

            the denial of appellant's jury demand in light of Landgraf v.
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            USI Film Prods., 114 S. Ct. 1483 (1994), nor in the dismissal
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            of her attempt  to retry  a retaliation claim  that had  been

            rejected in a collateral forum, and never appealed.  

                      Appellant lists as error some  forty-eight district

            court orders, many of which were entered prior to the summary

            judgment appeal and  remand of her claims for trial.  We fail

            to see the relevance of these early procedural rulings to the

            issues on this appeal.  Any perceived substantive errors were

            waived, at the latest  with appellant's filing of  an amended

            complaint after remand.  For like reason, we find no abuse in

            the court's  rejection of  appellant's motions  to supplement

            the  record  with archival  documents relating  to irrelevant

            early rulings. 

                      We have reviewed the record with care.  It contains

            all  the docketed items needed  for a thorough  airing of the



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            issues.   We appreciate appellant's  concern about a  missing

            partial  transcript  containing  the  testimony   of  witness

            William  Chenoweth (Dkt.  160).   Its  absence, however,  has

            caused her no prejudice in this court.  A full  transcript of

            the proceedings was  certified to us on  appeal.  Chenoweth's

            testimony, in its entirety, has been considered by  the court

            along  with the rest of the record.  The occasional docketing

            errors to which appellant points,  and mistakes in the  EPA's

            appellate   filings,  also  have   caused  no   prejudice  to

            appellant. 

                      Accordingly,  the  judgment   below  is   affirmed.
                                                                ________

            Appellant's motion  "for Correction  and Modification of  the

            Record,"  and "Petition  for  Judicial Opinion  on Denial  of

            Constitutional  Rights,"  including  attachments labelled  as

            motions, "In  Objection to  Harassment and Violations  by the

            U.S. District Court and U.S. Court of Appeals," "In Objection

            to  Harassment and Abusive Use of Power by Clerks and Judges"

            and  "In  Objection  to Denial  of  Access  to  United States

            Courts," are denied.
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